                                         Summary of Opinions
              Neurontin is a safe and effective treatment for neuropathic pain
              and is widely regarded in neurology as one of the most useful
              medication options for treating chronic neuropathic pain
              The labeling, or professional package insert, for Neurontin
              approved by FDA at the time of Mr. Smith’s death adequately
              communicated the potential benefits and risks of Neurontin
              to doctors
              The dosage of Neurontin that Mr. Smith was prescribed at the time
              of his death was relatively low and was probably insufficient to
              provide significant pain relief
              Mr. Smith’s suicide is most likely attributable to his chronic pain, his
              depression, and his feelings of hopelessness after being informed
              shortly before his death that there were no additional treatment
              options for his severe, chronic pain
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                            February 6, 2003
             Tennessee Orthopaedic Alliance Notes – Dr. Smith



                                                               Mr. Smith was down on his rump
                                                               on 1-2-03, fixing some pipes and
                                                               he says he has had pain in the
                                                               buttock region both sides,
                                                               radiating down to his calves ever
                                                               since. He said his knees hurt and
                                                               his right hip is probably worse
                                                               than his left.



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                                                                                                       Source: 000006-69AQC-00006

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                                    February 27, 2003
                         Neurological Surgeons Notes – Dr. Hampf



                                                              Given the severity of his stenosis I
                                                              discussed with him I would be
                                                              concerned that epidural steroid
                                                              injections would give him only
                                                              temporary benefit at best. I
                                                              therefore recommended to him
                                                              proceeding with a decompressive
                                                              lumbar laminectomy and fusion.



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                                                                                                       Source: 000006-53CAH-00003

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                                              March 11, 2003
                                        Nurses Notes – Dr. Berklacich




                                                               “I am already scheduled for
                                                               surgery on Thursday 3-13-03 –
                                                               I cannot wait – I am in so much
                                                               pain.”




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                                                                                                       Source: 000006-52FMB-00052

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                                             April 1, 2003
                                     Dr. McCombs’ Operative Report


                                                               OPERATION:
                                                               1. Decompressive lumbar
                                                                  laminectomy with partial
                                                                  facetectomy and
                                                                  foraminotomy with
                                                                  microscope L3-4-5-1.
                                                               2. Posterolateral lumbar fusion
                                                                  using autograft and allograft
                                                                  bone L3-4-5-S1.


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                                                                                                       Source: 000006-64CMD-00119

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                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                               Spoke w[ith] p[atien]t’s
                                                               daughter. States p[atien]t wishes
                                                               he could die because of pain and
                                                               depression. Advised to take
                                                               p[atient]t to ER for psych. eval
                                                               and tx [treatment].




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                                                                                                        Source: 000006-1PRD-00408

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                                                      May 15, 2003
                                                     Dr. Cato’s Notes




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                                                                                                       Source: 000006-30HMA-00064

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                                            March 9, 2004
                                     First Neurontin Prescription

                        Prescription                                       Deposition of Ruth Smith
                                                               Q. [O]n March 9 of 2004 you became aware
                                                                  that he was on a drug called Neurontin
                                                                  because you physically went and picked up
                                                                  the prescription for him?
                                                               A. I did.
                                                               Q. If he had ever been on the drug Neurontin
                                                                  before March 9 of 2004, is it fair to say you
                                                                  weren’t aware of it at the time?
                                                               A. Yes.
                                                                                Ruth Smith Dep. Tr., April 12, 2007, Pg. 116, Ln. 9-18




                                                                           Eckerd Drugs Records
                                                         03/09/04 … NEURONTIN 300MG … 60 30 Dr. MACKEY
                                                                                                         [Qty] [Day
                                                                                                               Supply]

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                               Neurontin Supplies Remaining
                                 After Mr. Smith’s Death




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                                                                                 Source:   PageID
                                                                                         Smith       #: 3976 000006-73PRI-00036
                                                                                               Scene 04-1575-006;

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                     Suicide Risk in Elderly Pain Patients



                                                               The risk for suicide among patients
                                                               with severe pain merits particular
                                                               attention. Patients with severe pain
                                                               and inadequate analgesia may view
                                                               suicide as a means of escape from
                                                               suffering.




                                                                                        Source: Juurlink, et al., “Medical Illness and the Risk of Suicide
                          Case 3:05-cv-00444 Document 173-2 Filed 04/27/10 Page 12   of Elderly,”
                                                                                 in the 12 PageID       #: 3977
                                                                                                  Arch Intern Med, Vol. 164, June 14, 2004

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